Case 2:05-CV-02478-BBD-tmp Document 5 Filed 08/19/05 Page 1 of 3 Page|D 10

Fu.ED BY M_____ D.c.
IN THE UNITED STATES DISTRICT COURT 05 AUG m FH 2: ug
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION THJMAS M, GOU.D
CLEHK. U.S\ D£STR_!_CT COURT

 

TAMARA MITCHELL-FORD,
Plaintift`, Case No.: 05-2478 D P

V.

SHELBY COUNTY PENAL FARM, et al.,

Defenda.nts.

 

ORDER STRIKING ALL PENDING
MOTIONS AND DISMISSING COMPLAINT

 

Based upon the Joint Stipulation of Dismissal . . . filed August 17, 2005, all pending motions

in the above case are hereby stricken and dismissed, and Plaintiff’ s complaint is dismissed in its

entirety.

IT IS SO ORDERED this [é day of é?gcf“.f , 2005.

B RNiCE BoUIE DONALD \
TED STATES DISTRICT IUDGE

  

 
  

This document entered on the docket sh
with Hu|e 58 and/or 79(&) FHCP on

 

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This notice confirms a copy ofthe document docketed as number 5 in
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Honorable Bernice Donald
US DISTRICT COURT

